                Case 6:16-cv-01396-JR   Document 1       Filed 07/08/16   Page 1 of 2



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 6

 7   Attorneys for OPTUM, Inc.
 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE DISTRICT OF OREGON
10

11   BRAD CREAGER, ESTATE OF                        CASE NO.:
12
     HOLLY CREAGER, by and through its
     Personal Representative, Brad Creager,
13
                                                    NOTICE OF REMOVAL OF
14                        Plaintiff,                ACTION UNDER 28 U.S.C. §
     v.                                             1441(a) [FEDERAL QUESTION]
15

16   OPTUM, INC.,
                          Defendant.
17

18
     TO THE CLERK OF THE ABOVE-ENTITLED COURT:
19

20
           PLEASE TAKE NOTICE THAT defendant OPTUM, INC. ("OPTUM")

21
     hereby removes to this Court the state court action described below.
22         1.      This action is a civil action of which this Court has original
23   jurisdiction under 28 U.S.C. § 1331, and is one which may be removed to this
24   Court by defendant pursuant to the provisions of 28 U.S.C. § 1441(a) in that it
25   arises under the Fair Debt Collections Practices Act, 15 U.S.C. §1692g(b).
26         2.      On or about May 10, 2016 the action was commenced in the Circuit
27   Court of the State of Oregon, for the County of Benton, entitled, Brad Creager,
28   Estate of Holly Creager, by and through its Personal Representative, Brad
                                         Notice of Removal

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                Case 6:16-cv-01396-JR    Document 1        Filed 07/08/16   Page 2 of 2



 1
     Creager v. OPTUM, Inc., Case No. 16CV15633 (the “State Court Action”). A
 2
     copy of the Plaintiff’s Summons and Complaint (“Complaint”) is attached hereto
 3
     as Exhibit A.
 4
           3.      The date upon which OPTUM first received a copy of the said
 5
     Complaint was June 8, 2016, when OPTUM’s agent for service of process was
 6
     served with a copy of the Complaint. Thus, pursuant to 28 U.S.C. § 1446(b),
 7
     OPTUM has timely filed this Notice of Removal.
 8
           4.      A copy of this Notice of Removal is being served upon Plaintiff and
 9

10
     will be filed in the State Court Action.

11
           5.      The State Court Action is located within the District of Oregon.

12   Therefore, venue for purposes of removal is proper because the United States
13   District Court for the District of Oregon embraces the place in which the removed
14   action was pending 28 U.S.C. § 1441(a).
15         6.      Removal of the State Court Action is therefore proper under 28 U.S.C.
16   §§ 1441 and 1446.
17

18
     Dated: 7/8/2016                    SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
                                        /s/Damian P. Richard
19                                      Damian P. Richard
20                                      Attorneys for Defendant
                                        OPTUM, Inc.
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                                           Notice of Removal

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